     Case
      Case2:10-cr-00578-APG-GWF    Document 70
            2:10-cr-00578-PMP -RJJ Document 72               Filed08/27/12
                                                             Filed 09/05/12 Page
                                                                             Page11
                                                                                  ofof
                                                                                     44


 1    DANIEL BOGDEN
      United States Attorney
 2    MICHAEL CHU
      Assistant United States Attorney
 3    333 Las Vegas Blvd. South, Suite 5000
      Las Vegas, Nevada 89101
 4    (702) 388-6336
                                    UNITED STATES DISTRICT COURT
 5
                                           DISTRICT OF NEVADA
 6

 7    United States of America,                                  Case No. 2:10-cr-578-PMP-RJJ
             Plaintiff,
 8                                                            The United States’ Motion to Order
      v.                                                          Defendant to Submit to an
 9                                                            Independent Medical Examination
      Linda Livolsi,
10           Defendant.
11

12           The United States, by and through the undersigned attorneys, asks the Court to order
13    defendant to submit to an evaluation by an independent medical examiner to examine defendant
14    because her motion to transfer venue (Dkt #64) has put her health squarely at issue.
15                                           Points and Authorities
16           Defendant is charged with conspiracy to commit wire fraud and wire fraud for, essentially,
17    operating a Ponzi scheme by convincing her victims to invest in her non-existent hedge fund.
18
      A. By citing her leukemia, thyroid cancer and lupus in support of her motion for continuance
19       and of her motion to transfer venue, defendant has put her health squarely at issue

20           On July 24, 2012, defendant was set for trial. Calendar call was set for July 18, 2012.

21           On July 9, 2012, defendant’s counsel E-mailed a six sentence doctor’s note, seeking to

22    excuse defendant from trial (Dkt #58, Exh. A). On July 12, 2012, when defendant had not yet filed a

23    motion for continuance, the United States filed a motion for status check to determine if defendant

24    would, in fact, be excused from trial. (Dkt #58). The Court set a status conference for July 26, 2012.


                                                        1
     Case
      Case2:10-cr-00578-APG-GWF    Document 70
            2:10-cr-00578-PMP -RJJ Document 72                Filed08/27/12
                                                              Filed 09/05/12 Page
                                                                              Page22
                                                                                   ofof
                                                                                      44


 1           On July 25, 2012 – the day before the status conference – the defendant filed her motion to
 2    transfer venue away from Nevada in favor of Oklahoma (Dkt #64), claiming that her medical
 3    conditions of leukemia, lupus, thyroid cancer prevented her from attending trial.
 4
      B. Defendant’s doctor admitted he had no basis for diagnosing defendant with leukemia,
 5       thyroid cancer and lupus other than defendant’s own self-reporting

 6           On July 26, 2012, the Court held a status conference, and took the testimony of Dr. Jeffrey

 7    DeLo, the doctor who wrote the doctor’s note. (Dkt #66). This doctor – presumably, selected by

 8    defendant because he was the doctor best positioned to know about her conditions – stated that he

 9    did not diagnose defendant with leukemia, lupus, or thyroid cancer. In fact, he stated that he had no

10    basis for concluding she had these conditions other than defendant’s own statements. He also noted

11    that although he is an oncologist, he has been coordinating her primary care because defendant

12    “seems to have trouble keeping primary physicians.”

13           The United States respectfully submits that this is enough to cast doubt on defendant’s

14    purported health conditions – and because she has not come forward with any evidence of her

15    alleged conditions, this is sufficient to deny her motion.

16
      C. The Court should appoint an independent medical examiner before the October 9, 2012
17       hearing on defendant’s motion to transfer venue

18           That said, if the Court is considering transfer of this case – or any future motion to continue

19    by defendant – because of defendant’s purported health issues, the United States asks the Court to

20    appoint an independent medical examiner before the October 9, 2012 hearing on defendant’s motion

21    to transfer venue. As the Court noted at the July 26, 2012 hearing (Dkt #66), this appears to be the

22    best way to resolve the question that defendant has now put squarely in issue: her health.

23           //

24           //


                                                         2
     Case
      Case2:10-cr-00578-APG-GWF    Document 70
            2:10-cr-00578-PMP -RJJ Document 72              Filed08/27/12
                                                            Filed 09/05/12 Page
                                                                            Page33
                                                                                 ofof
                                                                                    44


 1           The United States has obtained the name of a oncologist in Tulsa, Oklahoma: Dr. Joseph P.
 2    Lynch of Oklahoma Oncology, and proposes as follows.
 3           1. Defendant be ordered to see Dr. Joseph P. Lynch for an initial evaluation within two
                weeks of the Court’s Order.
 4
             2. Defendant be ordered to submit to any tests that Dr. Lynch deems necessary.
 5
             3. The United States will provide any health records that defendant’s counsel obtained from
 6              her health providers. These include the records filed as Dkt # 43, 44, 47.

 7           4. The Court should order that defendant provide releases for any medical records that Dr.
                Lynch deems necessary.
 8
             5. Dr. Lynch provide a written report that summarizes his findings.
 9
             By appointing an independent medical examiner now, defendant’s condition can be
10
      evaluated in time for the October 9, 2012 hearing on her motion to transfer venue, so the Court can
11
      make a fully informed decision.
12
                                                      Conclusion
13
             For all of these reasons, the United States asks that an independent medical examiner be
14
      appointed.
15
             Dated: August 27, 2012.
16
                                                  Respectfully submitted,
17
                                                  DANIEL BOGDEN
18                                                United States Attorney

19                                                       /s/
                                                  _________________________________
20                                                Michael Chu
                                                  Assistant U.S. Attorney
21

22

23

24


                                                       3
     Case
      Case2:10-cr-00578-APG-GWF    Document 70
            2:10-cr-00578-PMP -RJJ Document 72             Filed08/27/12
                                                           Filed 09/05/12 Page
                                                                           Page44
                                                                                ofof
                                                                                   44


 1

 2

 3

 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
      United States of America,                                Case No. 2:10-cr-578-PMP-RJJ
 7           Plaintiff,
                                                                 Proposed Order Granting
 8    v.                                                     the United States’ Motion to Order
                                                                 Defendant to Submit to an
 9    Linda Livolsi,                                         Independent Medical Examination
             Defendant.
10

11
           Based on the United States’ Motion for appointment of independent medical examiner, as well
12
      as defendant’s Motion to Transfer Venue (Dkt #64), and good cause appearing
13
           IT IS HEREBY ORDERED that:
14
             1. Defendant shall see Dr. Joseph P. Lynch, oncologist of Tulsa, Oklahoma, for an initial
15              evaluation within two weeks of the Court’s Order.
16           2. Defendant shall submit to any tests that Dr. Lynch deems necessary.

17           3. The United States shall provide to Dr. Lynch any health records that defendant’s counsel
                obtained from her health providers. These include the records filed as Dkt # 43, 44, 47.
18
             4. Defendant shall provide releases for any medical records that Dr. Lynch deems
19              necessary.

20           5. Dr. Lynch shall provide a written report that summarizes his findings.

21                                                   5thday
             Subscribed and sworn to before me this ___  dayofof______________________,
                                                                 September, 2012.       2012.

22
                                                  _____________________________________
23                                                United States District Court Judge

24


                                                       4
